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EXhibit l

CaSe 2214-CV-11380-Dl\/|L-RSW ECF NO. 1-1 filed 04/03/14 Pag€|D.l4 Page 2 Of 3 ©

ORLANS hSSOCIATES, P.C.
P t'.`} 501 5041
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oRi_ANS w mw
www Orlans com

IF YOU ARE CURRENTLY IN BANKRUPTCY OR HAVE RECEIVED A DISCHARGE IN
BANKRUPTCY AS TO TH}S OBLIGA'I'ION, THIS COMMUNICATION IS INTENDED FOR
INFORMATIONAL PURPOSES ONLY AND IS NO'I` AN ATTEMPT TO COLLECT A DEBT IN
VIOLATION ()F THE AUTOMATIC STAY OR THE DISCHARGE INJUNCT}ON. IN SUCH
CASE, PLEASE DISREGARD ANY PART OF THIS COMMUN!CATION WHICH IS
INCONSISTENT WITH THE FOREGOING.

OTHERWISE. FEDERAL LAW REQUIRES US TO ADVISE YOU THAT COMMUNICA'I`ION
FROM OUR OI"FICE COULD BE IN'I`ERPRETED AS AN ATTEMPT TO COLLECT A DEBT
AND THA'I` ANY INFORMAT]ON OB'I`AINED MAY BE USED FOR THA'I` PURPOSE.

IF YOU ARE NOW ON ACTIVE M!LITARY DUTY OR HAVE BEEN IN 'I`HE PRIOR 'I'WELVE
MONTHS, PLEASE CONTACT OUR OFFICB AS YOU MAY BE ENTI'I`LED TO THE
BENEFITS OF THE SERVICEMEMBERS' CIVIL RELIEF ACT.

i"el)rnary iZ, 2014

Eliz.abeth Nanas
ew-
m

Fi|e Number: m

Dear Elizabeth Nanas

Thls office represents CitiMortgage, Inc.. which is the creditor to whom your mortgage debt is owed or the
servicing agent for the creditor to whom the debt is owed. The creditor has referred this matter to this

office with Instructions to start proceedings to foreclose the mortgage located ali ~
W)Q

As of February lG, 201 4, the TOTAL PAYOFF is $52.454.34

Be Ativised this is NO'I` a Payofi` quote or an attempt to collect a debt.

linder the terms ofyour mortgage, the creditor hereby elects to accelerate the total inciel_)tetlness. Ytnt may

have the right to reinstate the mortgage subject to the creditor's approval by paying all past due
installments late charges, delinquent taxes, insurance premiumsl costs and fees incurred in the foreclosnrr»_
Requests for reinstatement information must be received before the date of the sheriff 's sale '|`o request
reinstatement information contact our Loan Resoltttion Departmcnt at (248} 502'1400, or entail ar
rcinstatcrnents@orlans.com. Please leave your loan information and mailing address with onr automated
service. A representative will contact you via mail or phone within five business days.

The debt described above wiil be assumed to be valid by this office, lite creditor's law firm. unless yon, tile
debtor/consumer, within thirty (30) days after the receipt eftitis notice. dispute tin' validity eftlie tlelit or
some portion thereof Ii’you notify this office in writing. within thirty (30} days of the receipt of this notit‘t~.
that the debtl or any portion thereof is disputed, we will obtain a verification of the debt and a copy of t|n»_
verification will be mailed lo yotr. ]f the debt is based on ajndgment, a copy nfiln-_}itdgint-nt wii| i)r-

provided for you, upon request.

14-002430/-/24 lfFOP

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